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1      HILARY POTASHNER (Bar No. 167060)
       Federal Public Defender
2      GEORGINA E. WAKEFIELD (Bar No. 282094)
       (E-Mail: Georgina_Wakefield@fd.org)
3      Deputy Federal Public Defender
       321 East 2nd Street
4      Los Angeles, California 90012-4202
       Telephone: (213) 894-2854
5      Facsimile: (213) 894-0081
6      Attorneys for Defendant
       SHAWN NAOLU LEE
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9                               UNITED STATES DISTRICT COURT
10                          CENTRAL DISTRICT OF CALIFORNIA
11                                    WESTERN DIVISION
12
13     UNITED STATES OF AMERICA,                      Case No. CR 17-574-ODW
14                 Plaintiff,                         DEFENDANT'S SENTENCING
                                                      POSITION PAPER
15           v.
16     SHAWN NAOLU LEE,
17                 Defendant.
18
19           Shawn Naolu Lee, through his attorney of record, Deputy Federal Public
20     Defender Georgina E. Wakefield, hereby files his sentencing position paper.
21
                                            Respectfully submitted,
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                                            HILARY POTASHNER
23                                          Federal Public Defender
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25     DATED: July 9, 2018                  By /s/ GEORGINA E. WAKEFIELD
26                                          GEORGINA E. WAKEFIELD
                                            Deputy Federal Public Defender
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1                                 SENTENCING POSITION PAPER
2            Mr. Lee requests that the Court impose the agreed-upon sentence, which is
3      consistent with the recommendation made by the probation office: three years of
4      probation to include six months of home detention. Such a sentence accounts for the
5      seriousness of the offense and the history and characteristics of Mr. Lee, while
6      achieving the purposes of sentencing.
7            Mr. Lee pleaded guilty to importing into the United States eight fish. All eight
8      fish were Asian arowana, which are listed on CITES Appendix I. While Appendix I
9      includes the most protected wildlife under CITES, the fish Mr. Lee imported were not
10     captured from the wild. They were born at a fish farm operated by the co-defendant,
11     Mickey Tanadi, in Indonesia. Asian arowana can be brought to the United States with
12     the proper permits, but Mr. Lee did not obtain those permits.
13           Asian arowana are significant to Asian cultures and are believed to bring good
14     luck, health, and prosperity.
15           This case has brought shame to Mr. Lee and his family. News of his arrest and
16     then guilty plea was printed in local newspapers in Orange County, where he was born
17     and raised. See Exhibit A. Despite this shame, Mr. Lee’s family has remained by his
18     side. His mother and wife are both sources of support and stability for Mr. Lee.
19           Over the past year, Mr. Lee has demonstrated that he can be a law-abiding and
20     productive member of society. While on pretrial release he obtained steady
21     employment and has sustained no violations of his pretrial release conditions. Under
22     the supervision and guidance of the probation office, Mr. Lee can continue to make
23     strides at achieving a career and productive life.
24           Prison is unnecessary for Mr. Lee. It would disrupt his employment and be
25     disproportionate to the offense and his minor criminal history. Mr. Lee respectfully
26     requests that the Court impose the sentence jointly recommended by the parties in the
27     plea agreement.
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1            Mr. Lee objects to the following conditions of probation recommended by the
2      Probation Office:
3            Proposed condition number 2: “As directed by the probation officer, the
4      defendant shall notify specific persons and organizations of specific risks and shall
5      permit the probation officer to confirm the defendant’s compliance with such
6      requirement and to make such notifications.” Rec. Letter (Docket No. 37), p.2. The
7      proffered justification for this condition is that it “is needed to address risks that the
8      defendant may pose to the community.” Id. at p.4. This proposed condition is vague
9      and not justified by the nature of the offense.
10           Proposed condition number 6: “The defendant shall perform 40 hours of
11     community service, as directed by the Probation Officer.” Rec. Letter, p.2. Mr. Lee
12     objects to this proposed condition because he will be on home confinement for the first
13     six months of probation. Mr. Lee will be required to pay the costs of Location
14     Monitoring up to $12 per day. At $12 per day, he may spend up to $360 per month on
15     Location Monitoring, which is more than half of his monthly pay. See PSR ¶ 64. Mr.
16     Lee’s efforts should be focused on getting more hours and responsibilities at work so he
17     can support himself and pay the special assessment and Location Monitoring.1
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                                                Respectfully submitted,
19
                                                HILARY POTASHNER
20                                              Federal Public Defender
21
22     DATED: July 9, 2018                      By /s/ GEORGINA E. WAKEFIELD
23                                              GEORGINA E. WAKEFIELD
                                                Deputy Federal Public Defender
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26             18 U.S.C. § 3563(a)(2) provides that the Court should impose a fine, restitution,
       or community service, unless the Court finds extraordinary circumstances that justify
27     not imposing one of those conditions. Mr. Lee submits that the forfeiture of over
       $15,370 seized by the government satisfies this requirement, as does the need for Mr.
28     Lee to continue to work and focus on supporting himself and his family.

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1                                        PROOF OF SERVICE
2            I, the undersigned, declare that I am a resident or employed in Los Angeles
3      County, California; that my business address is the Office of the Federal Public
4      Defender, 321 East 2nd Street, Los Angeles, California 90012-4202, Telephone No.
5      (213) 894-2854; that I am over the age of eighteen years; that I am not a party to the
6      action entitled above; that I am employed by the Federal Public Defender for the
7      Central District of California, who is a member of the Bar of the State of California,
8      and at whose direction I served a copy of the attached DEFENDANT’S
9      SENTENCING POSITION PAPER on the following individual(s) by:
10            [X ] Placing          [ ] Placing             [ ] Placing            [ ] Faxing
       same in a sealed       same in an envelope    same in a sealed       same via facsimile
11     envelope for           for hand delivery      envelope for           machine addressed
       collection and         addressed as           collection and         as follows:
12     interoffice delivery   follows:               mailing via the
       addressed as                                  United States Post
13     follows:                                      Office addressed as
                                                     follows:
14           [X] By e-mail as follows:
15
        Pamela Chen USPO
16      Los Angeles, CA 213-894-6022
        Pamela_Chen@cacp.uscourts.gov
17
             This proof of service is executed at Los Angeles, California, on July 9, 2018.
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             I declare under penalty of perjury that the foregoing is true and correct to the best
19
       of my knowledge.
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                                              Sonia Casas                             .
22                                            SONIA CASAS
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